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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                             )
    In re:                                                   ) Chapter 11
                                                             )
    PERFORMANCE POWERSPORTS                                  ) Case No. 23-10047 (LSS)
    GROUP INVESTORS, LLC, et al.,1                           )
                                                             )
                                      Debtors.               )
                                                             ) Related to Docket Nos. 385 and 463

                   NOTICE OF CONTINUED CONFIRMATION HEARING

PLEASE TAKE NOTICE OF THE FOLLOWING:

       1.      On June 12, 2023, the Court entered the Order (I) Approving the Disclosure
Statement; (II) Fixing the Voting Record Date; (III) Approving the Notice and Objection
Procedures in Respect of Confirmation of the Plan; (IV) Approving Solicitation Packages and
Procedures for Distribution Thereof; (V) Approving the Forms of Ballots and Establishment of
Procedures for Voting on the Plan; (VI) Approving the Forms of Notices to Non-Voting Classes
Under the Plan; (VII) Fixing the Voting Deadline to Accept or Reject the Plan; and (VIII)
Approving Procedures for Vote Tabulations in Connection Therewith [Docket No. 383] (the
“DS/Solicitation Procedures Order”).2
       2.
       3.      On June 15, 2023, the Debtors filed the solicitation version of the Debtors'
Amended Joint Plan of Liquidation Pursuant to Chapter 11 of the Bankruptcy Code Dated June
12, 2023 [Docket No. 385] and the Disclosure Statement with Respect to Debtors' Amended Joint
Plan of Liquidation Pursuant to Chapter 11 of the Bankruptcy Code Dated June 12, 2023 [Docket
No. 386].

       4.      On September 15, 2023, the Debtors filed the Debtors' Second Amended Joint Plan
of Liquidation Pursuant to Chapter 11 of the Bankruptcy Code Dated June 12, 2023 [Docket No.
463] (as amended, modified, or supplemented, the “Plan”).

       5.     Consistent with the Disclosure Statement/Solicitation Procedures Order, the
Debtors, with permission of the Cout, have continued the Confirmation Hearing with respect to



1
      The Debtors in these chapter 11 cases, along with the last four digits of each of the Debtors’ respective federal
      tax identification numbers, are as follows: Performance Powersports Group Investor, LLC (2068); Performance
      Powersports Group Holdings, Inc. (0823); Performance Powersports Group Purchaser, Inc. (1533); and
      Performance Powersports Group, Inc. (3380). The Debtors’ headquarters and mailing address is: 1775 East
      University Drive, Tempe, Arizona 85281.
2
      Capitalized words not otherwise defined herein shall have the same meaning as set forth in the Plan.



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the Plan, previously scheduled for September 11, 2023 at 2:00 p.m. (ET), to October 4, 2023 at
10:00 a.m. (ET)


 Dated: September 15, 2023             /s/ Domenic E. Pacitti
 Wilmington, Delaware                  KLEHR HARRISON HARVEY BRANZBURG LLP
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                                       Counsel for the Debtors and Debtors in Possession




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